                  Case 5:19-cv-00196-OLG Document 17
                                                  14 Filed 05/29/19
                                                           04/29/19 Page 1
                                                                         2 of 1
                                                                              2



AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION

BERNIECE A. BURSH                                                   §
vs.                                                                 §         NO: 5:19-CV-00196-OLG
SECURITY SERVICE FEDERAL CREDIT                                     §
UNION, EQUIFAX INFORMATION                                          §
SERVICES, LLC, TRANSUNION LLC                                       §

               NOTICE, CONSENT/NON CONSENT, AND REFERENCE OF A CIVIL ACTION
                                  TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this court.
A magistrate judge may exercise this authority only if all parties voluntarily consent.

        Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

    X Non Consent to a magistrate judge’s authority. The following parties do not consent to have a United
States magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all
post-trial proceedings.

Parties’ printed names                                   Signatures of parties or attorneys                              Dates

 Trans Union LLC                                         /s/ Lauren Wood                                           5/29/2019




                                                 Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.
Date:
                                                                                            District Judge’s signature



                                                                                              Printed name and title
